     Case 2:24-cv-10444-SSC    Document 18    Filed 05/12/25   Page 1 of 10 Page ID #:77




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12                FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
14                                Case No. 2:24-cv-10444-SSC
       CENTER FOR IMMIGRATION LAW
15     & POLICY,                  JOINT REPORT OF
16                                CONFERENCE OF PARTIES
                 Plaintiff,
17                                [Fed. R. Civ. P. 26(f)]
                       v.
18                                Date: May 20, 2025
       UNITED STATES IMMIGRATION Time: 2:30 p.m.
19     AND CUSTOMS ENFORCEMENT, Ctrm: 790
20                Defendant.
                                              Hon. Stephanie S. Christensen
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     Case 2:24-cv-10444-SSC   Document 18   Filed 05/12/25   Page 2 of 10 Page ID #:78




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     Case 2:24-cv-10444-SSC    Document 18     Filed 05/12/25   Page 3 of 10 Page ID #:79




 1          Plaintiff Center for Immigration Law and Policy (“Plaintiff”) and Defendant
 2    U.S. Immigration and Customs Enforcement (“ICE” or “Defendant”), having met
 3    and conferred, in accordance with the Court’s April 22, 2025 Order Setting
 4    Scheduling Conference (ECF 14), hereby submit their Joint Report as required by
 5    Fed. R. Civ. P. 26(f) and Local Rule 26-1.
 6    1.    STATEMENT OF THE CASE
 7          This is an action brought by Plaintiff under the Freedom of Information Act
 8    (“FOIA”) and the Administrative Procedure Act for declaratory and injunctive
 9 relief seeking release of eight categories of data from ICE, from Fiscal Year 2012
10 to the date that ICE produces the data, concerning: (1) removals; (2) “Secure
11 Communities” removals (which are removals following a biometrics match); (3)
12 detentions; (4) arrests and apprehensions; (5) encounters; (6) alternatives to
13 detention; (7) detainers; and (8) orders of supervision. Plaintiff submitted a FOIA
14 request (the “Request”) to ICE on May 31, 2024. On June 10, 2024, ICE
15 acknowledged the Request.
16          After receiving no further response or communication from Defendant,
17 Plaintiff filed its Complaint (ECF 1) on December 4, 2024. In its Complaint,
18 Plaintiff alleges that Defendant failed to adequately search for and promptly
19 release responsive records. Id.
20          On March 18, 2025, Defendant produced 5 Excel spreadsheets in response to
21 Plaintiff’s FOIA request, each containing a range of 100,000-800,000 data entry
22 rows. Defendant applied FOIA Exemptions 6 and 7(C) to protect from disclosure
23 the names, e-mail addresses, and phone numbers of ICE and DHS employees
24 contained within the documents, as well as the names, and other personally
25 identifiable information of other individuals contained within the records.
26          Defendant filed its Answer (ECF 13) on April 21, 2025.
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                                         -1-
     Case 2:24-cv-10444-SSC     Document 18      Filed 05/12/25   Page 4 of 10 Page ID #:80




 1          The parties have continued to discuss a possible resolution of the case,
 2    without the need for further litigation. However, the parties have been unable to
 3    resolve all remaining issues.
 4          Plaintiff’s position is that Defendant’s response is inadequate in several key
 5    respects, including, inter alia:
 6             • Defendant failed to produce any data on Alternatives to Detention and
 7                Orders of Supervision even though it was explicitly requested by
 8                Plaintiff;
 9             • Defendant failed to produce the data for the full time period requested
10                despite conceding that producing such data is not burdensome in past
11                FOIA litigation over a similar data set, see ACLU v. ICE, 58 F.4th
12                643, 662–63 (2d Cir. 2023);
13             • Defendant failed to produce a specific field requested by Plaintiff
14                (idncase field);
15             • Defendant failed to produce all relevant, nonexempt database fields in
16                each table as requested by Plaintiff; and
17             • Defendant failed to produce the vast majority of entries in at least one
18                of the data tables.
19          Plaintiff believes that Defendant should run an adequate search that
20 addresses these issues and produce data from FY 2012 to the date the agency runs
21 an adequate search.
22          Defendant’s position is that it is preparing a response to the issues raised by
23 Plaintiff in its April 25, 2025 letter regarding Defendant’s production of records.
24 Defendant expects that the parties will be able to wither resolve this case without
25 the need for further litigation, or narrow the issues in dispute. In this regard,
26 Defendant has recently asked Plaintiff to identify whether it has any issues with the
27 redactions in Defendant’s production of records and, if so, what those issues are.
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                                           -2-
     Case 2:24-cv-10444-SSC    Document 18      Filed 05/12/25   Page 5 of 10 Page ID #:81




 1    This information will assist Defendant in preparing a Vaughn index in the event
 2    motions for summary judgment become necessary.
 3    2.    SUBJECT MATTER JURISDICTION
 4          This Court has jurisdiction over the parties and subject matter pursuant to 5
 5    U.S.C. § 552(a)(4)(B), 28 U.S.C. § 1331, and 28 U.S.C § 1346.
 6    3.    LEGAL ISSUES
 7          Key legal issues in this case include whether Defendant has conducted an
 8    adequate search in response to Plaintiff’s Request and whether Defendant has
 9    properly established that any documents it withholds are exempt from disclosure.
10          This Court has jurisdiction to enjoin the agency from withholding agency
11 records improperly withheld and to order the production of any agency records
12 improperly withheld from the Plaintiff. 5 U.S.C. § 552(a)(4)(B). Under FOIA, an
13 agency’s decision to withhold information from the FOIA request is subject to de
14 novo review by the courts. Animal Legal Def. Fund v. United States Dep't of
15 Agric., 935 F.3d 858, 863 (9th Cir. 2019). The agency has the burden to justify the
16 non-disclosure of documents and establish that a particular document is exempt
17 from disclosure. Citizens Comm’n on Human Rights v. FDA, 45 F.3d 1325, 1328
18 (9th Cir. 1995).
19          To prevail in a FOIA action where the adequacy of the search is at issue, the
20 agency must show that it made “a good-faith effort to conduct a search for the
21 requested records, using methods which can be reasonably expected to produce the
22 information requested.” Nation Magazine v. U.S. Customs Serv., 71 F.3d 885, 890
23 (D.C. Cir. 1995) (quoting Oglesby v. U.S. Dep’t of the Army, 920 F.2d 57, 68 (D.C.
24 Cir. 1990)); see, e.g., Gerstein v. CIA, No. 06-4643, 2008 WL 4415080, at *3
25    (N.D. Cal. Sept. 26, 2008) (“The adequacy of the agency’s search is judged by a
26    standard of reasonableness….” (quoting Citizens Comm’n on Human Rights, 45
27    F.3d at 1328)); Bonaparte v. DOJ, 531 F. Supp. 2d 118, 122 (D.D.C. 2008) (“The
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                                          -3-
     Case 2:24-cv-10444-SSC    Document 18       Filed 05/12/25   Page 6 of 10 Page ID #:82




 1    Court’s review of the adequacy of an agency’s search for responsive records is
 2    based on principles of reasonableness.”).
 3          In regard to any information that might be withheld, FOIA generally
 4 provides that any person has a right to obtain access to federal agency records,
 5 except to the extent that such records (or portions of them) are protected from
 6 public disclosure by one of nine exemptions. 5 U.S.C. § 552(b).
 7    4.    PARTIES, EVIDENCE, ETC.
 8          The plaintiff in this case is the Center for Immigration Law and Policy. It is
 9    a center at the University of California, Los Angeles School of Law.
10          The defendant is U.S. Immigration and Customs Enforcement, a branch of
11 the Department of Homeland Security, a federal executive department.
12          Witnesses may include agency officials responsible for searching for
13 responsive records.
14          The key documents at issue in the case are Plaintiff’s Request and the
15 documents Plaintiff alleges are being improperly withheld.
16 5.       DAMAGES
17          Not applicable. There are no damages in a FOIA action.
18 6.       INSURANCE
19          Not applicable. There are no insurance coverage issues in this case.
20 7.       MOTIONS
21          A.    PROCEDURAL MOTIONS
22          The parties do not anticipate filing any procedural motions seeking to add
23 other parties or claims, file amended pleadings, transfer venue, or challenge the
24 Court’s jurisdiction.
25          B.    DISPOSITIVE MOTIONS
26          The parties submit that all issues in this FOIA action can be decided and
27 fully resolved on summary judgment.
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                                           -4-
     Case 2:24-cv-10444-SSC      Document 18     Filed 05/12/25   Page 7 of 10 Page ID #:83




 1          Plaintiff’s position is that the Court adopt the following briefing schedule:
 2               Action                             Plaintiff’s Proposal
 3     Defendant will file and       June 3, 2025
 4     serve a Motion for
 5     Summary Judgment
 6     Plaintiff will file any Cross- June 17, 2025
 7     Motion for Summary
 8     Judgment and Opposition
 9     to Defendant’s Motion
10     Defendant will file a         July 1, 2025
11     Reply/Opposition
12     Plaintiff will file any Reply July 8, 2025
13     Hearing on Cross-Motions July 22, 2025
14          Defendant’s position is that it is premature to propose a motion for
15 summary judgment briefing schedule. The parties are still meeting and conferring
16 regarding Plaintiff’s list of purported deficiencies with Defendant’s production of
17
      records (see supra, § 1, “Plaintiff’s Position”). Further, it is unknown at this time
18
      the extent of the Vaughn index that Defendant will be required to prepare, which
19
      will need to be produced prior to any meet and confer regarding potential motions
20
      for summary judgment can take place.
21
            Defendant proposes that the parties meet and confer on a proposed motion
22
      for summary judgment schedule once the above-referenced issues are resolved and
23
24    then present it to the Court through a stipulation and proposed order.

25 8.       MANUAL FOR COMPLEX LITIGATION

26          The parties agree that the Manual for Complex Litigation should not apply

27 to this case.
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                                           -5-
     Case 2:24-cv-10444-SSC    Document 18      Filed 05/12/25   Page 8 of 10 Page ID #:84




 1    9.   DISCOVERY
 2         The parties agree that initial disclosures under Fed. R. Civ. P. 26(a) are not
 3 necessary in this matter. Because this is a FOIA action, the usual discovery process
 4 does not apply. District courts typically resolve actions to enforce FOIA on
 5 summary judgment. See, e.g., Lane v. Dep’t of Interior, 523 F.3d 1128, 1134 (9th
 6 Cir. 2008); Sakamoto v. EPA, 443 F.Supp.2d 1182, 1188 (N.D. Cal. 2006) (“It is
 7 generally recognized that summary judgment is a proper avenue for resolving a
 8 FOIA claim.”); Moore v. Bush, 601 F. Supp. 2d 6, 12 (D.D.C. 2009) (“FOIA cases
 9 are typically and appropriately decided on motions for summary judgment.”).
10 “Procedurally, district courts typically decide FOIA cases on summary judgment
11 before a plaintiff can conduct discovery.” Lawyers’ Comm. for Civil Rights of S.F.
12 Bay Area v. U.S. Dep’t of the Treasury, 534 F. Supp. 2d 1126, 1131 (N.D. Cal.
13 2008) (citing Jones v. Federal Bureau of Investigation, 41 F.3d 238, 242 (6th Cir.
14 1994)).
15         Discovery is only appropriate where “an agency has not taken adequate steps
16 to uncover responsive documents,” and discovery requests will be generally
17 limited to the scope of the agency’s search, its indexing and classification
18 procedures, and similar factual issues. Lawyers’ Comm., 534 F. Supp. 2d at 1132
19 (citations and quotations omitted); see Schrecker v. U.S. Dep’t of Justice, 217 F.
20 Supp. 2d 29, 35 (D.D.C. 2002), aff’d, 349 F.3d 657 (D.C. Cir. 2003). Accordingly,
21 the parties submit that this matter should be resolved on summary judgment, prior
22 to conducting any discovery.
23 10.     SETTLEMENT / ALTERNATIVE DISPUTE RESOLUTION (ADR)
24         The parties agree to select a neutral from the Court’s mediation panel.
25 11.     TRIAL
26         The parties do not anticipate a need for trial, either by judge or jury, on this
27 matter. As set forth above, the parties submit that all of the claims in this case may
28 be resolved on summary judgment.


                                          -6-
     Case 2:24-cv-10444-SSC   Document 18     Filed 05/12/25   Page 9 of 10 Page ID #:85




1     12.   INDEPENDENT EXPERT OR MASTER
2           The parties do not believe the Court should consider appointing a master
3     pursuant to Rule 53 of the Federal Rules of Civil Procedure or an independent
4     scientific expert.
5     13.   OTHER ISSUES
6           None.
7                                         Respectfully submitted,
8
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     Case 2:24-cv-10444-SSC   Document 18       Filed 05/12/25   Page 10 of 10 Page ID #:86



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10 on whose behalf the filing is submitted, concur in the filing’s content and have
11 authorized the filing
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